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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

KAREN SAUNDERS,                        )
                                       )
                  Plaintiff,           )   Case No. 1:17-cv-00335
                                       )
      v.                               )
                                       )
DYCK O’NEAL, INC.,                     )   Hon. Judge Gordon J. Quist
                                       )   Hon. Mag. Judge Ray Kent
                  Defendant.           )

    BRIEF IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL DISCOVERY
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        Plaintiff propounded her second set of discovery requests on Defendant Dyck O’Neal,

Inc. (“DONI”) over two months ago, and despite multiple extensions and meet-and-confers

between the parties, DONI still hasn’t provided a written response or substantive production.

        Plaintiff’s claims are based on autodialed calls she alleges DONI made to herself and

others’ cell phones in violation of the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C.

§ 227. Naturally, Plaintiff has propounded discovery relating to Defendant’s calls to herself and

the class, DONI’s affirmative defense of “prior express consent”, and policy, practice, and

procedure materials regarding the calls, consent, and TCPA, indicative of DONI’s knowledge

and willfulness. This discovery is inherently relevant to the parties’ claims and defenses, and

where DONI has already promised to produce substantive responses and class call and consent-

related data, there is no valid basis for its continued failure to furnish this pertinent discovery.

        Plaintiff’s counsel have tried repeatedly to obtain this basic discovery from Defendant, to

no avail. As such, Plaintiff respectfully requests that the Court enter an order compelling DONI

to provide full responses to her second set of discovery requests attached as Exhibit A, deem all

objections waived, and deem all requests for admission admitted, as further detailed below.

I.      BACKGROUND

        The TCPA, 47 U.S.C. § 227, was enacted in response to widespread public outrage over

the proliferation of intrusive, nuisance calling practices. Mims v. Arrow Fin. Servs., LLC, 132 S.

Ct. 740, 745 (2012). Indeed, “[m]onth after month, unwanted robocalls and texts …top the list of

consumer complaints received by the [FCC].” In re Rules & Regs. Implementing the TCPA, 30

FCC Rcd. 7961, at ¶ 72 (2015). To that end, some of the TCPA’s most stringent restrictions

pertain to calls to cell phones: The statute categorically bans the making of any non-emergency

call using an automatic telephone dialing system or an artificial or prerecorded voice to any



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telephone number assigned to a cellular telephone service, unless with the “prior express

consent” of the called party. 47 U.S.C. § 227(b)(1)(A)(iii).

       In this putative class action, Plaintiff Karen Saunders alleges that Defendant DONI made

repeated debt collection calls to her cell phone using an autodialer that left multiple prerecorded

voicemail messages on her phone. Compl. ¶¶ 11-16. Defendant did not have Plaintiff’s consent

to make its automated calls; in fact, DONI continued to robocall her cell phone even after she

directly asked it to stop. Compl. ¶ 18-19. DONI answered Plaintiff’s complaint on June 19, 2017,

generally denying her allegations, and asserting a number of defenses, see Dkt. No. 6, Answer.

       On July 27, 2017, this Court entered a scheduling order setting a deadline of October 10,

2017, for the parties to conduct discovery “limited to the question of whether the [TCPA] applies

to the type of communication and technology allegedly used by Defendant or its supplier in this

case.” Dkt. No. 11. On April 18, 2018, DONI moved for summary judgment on whether the

prerecorded VoApps DirectDROP messages it left on Plaintiff’s cell phone’s voicemail were

“calls” under the TCPA, which the Court denied on July 16, 2018. Dkt. No. 25, 36, 48, 50.

       On August 21, 2018, Plaintiff issued a second set of discovery requests to DONI, Exhibit

A, including interrogatories and requests for admission and production. On September 24,

2018—when DONI’s responses were already four days late—defense counsel asked for a 14-

day extension to respond, to October 8, 2018, which Plaintiff’s counsel granted. Exhibit B at 3-4.

However, DONI did not respond to Plaintiff’s discovery requests, and it took three e-mails, an

unanswered voicemail, and a threatened discovery motion before DONI’s attorney finally agree

to meet-and-confer. Exhibit B at 1-2. During the parties’ subsequent call on October 16, 2018,

DONI’s counsel indicated that DONI had responded to Plaintiff’s requests for admission via

U.S. Mail, but had elected to not respond to Plaintiff’s interrogatories or production requests at



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all. Exhibit B at 1. DONI promised to provide substantive responses by October 22, 2018. Id.

       Even though Plaintiff’s counsel had warned DONI that Plaintiff viewed DONI’s

discovery gamesmanship as having resulted in automatic and equitable waiver of all objections,

Id., DONI still failed to respond to Plaintiff’s discovery requests on the promised date of October

22, 2018. Exhibit C. Instead, defense counsel called Plaintiff’s counsel on October 22, 2018, and

requested yet more time to respond. Plaintiff’s counsel agreed to a further extension until

October 24, 2018, on the following condition: “Plaintiff would withdraw [her] position that

DONI’s objections to our requests were waived, if DONI (1) produced all of its non-data

documents and responses by October 24, and (2) DONI agreed to produce the account notes and

other account/consent-related data for all persons who were successfully direct-dropped through

VoApps, within three weeks, by November 12[, 2018].” Id. Defense counsel agreed.

       Yet, on October 24, 2018, DONI produced no written responses, and just nine (9) pages

of policy/procedure documents. Plaintiff also has not received the responses to her requests for

admission DONI claims were previously mailed, and DONI has failed to provide them by email.

       DONI’s blatant disregard for its discovery obligations in this case should not be tolerated.

As detailed herein, Plaintiff’s motion to compel should, respectfully, be granted.

II.    LEGAL STANDARD

       “Mutual knowledge of all the relevant facts gathered by both parties is essential to proper

litigation. To that end, either party may compel the other to disgorge whatever facts he has in his

possession.” Hickman v. Taylor, 329 U.S. 495, 507 (1947). The scope of discovery is broad—

parties may obtain discovery regarding “any nonprivileged matter that is relevant to any party’s

claim or defense and proportional to the needs of the case, considering the importance of the

issues at stake in the action, the amount in controversy, the parties’ relative access to relevant



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information, the parties’ resources, the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R.

Civ. P. 26(b). As such, “[t]he Federal Rules of Civil Procedure ... strongly favor full discovery

whenever possible.” Moore v. Armour Pharm. Co., 927 F.2d 1194, 1197 (11th Cir. 1991).

III.   ARGUMENT

       A.      DONI’s failure to timely object or respond constituted waiver and admission.

       By repeatedly failing to object or otherwise respond to Plaintiff’s discovery requests,

DONI waived all objections and further admitted Plaintiff’s requests for admission.

       “As a general rule, when a party fails to object timely to interrogatories, production

requests, or other discovery efforts, objections thereto are waived.” Greene v. Cracker Barrel

Old Country Store, Inc., No. 09-2110, 2009 WL 1885641, at *2 (W.D. Tenn. July 1, 2009)

(finding party’s failure to timely seek extension waived objections) (citation omitted); see also

Fed. R. Civ. P. 33(b)(4) (“Any ground not stated in a timely objection is waived unless the court,

for good cause, excuses the failure.”). Likewise, “[i]f the court finds that an answer does not

comply with Rule 36 [request for admission], ‘the court may order either that the matter is

admitted or that an amended answer be served.’” Baker v. Cty. of Missaukee, No. 09-1059, 2013

WL 5786899, at *5 (W.D. Mich. Oct. 28, 2013) (quoting Fed. R. Civ. P. 36(a)(6)). Thus, here,

because DONI’s failed to respond or object to Plaintiff’s discovery requests when its responses

were originally due on September 24, 2018 – and every extension thereafter – it should be

deemed to have waived any objections and admitted all requests for admission.

       B.      Defendant should produce its call data and documents relevant to the class.

       Plaintiff seeks to represent a class of persons who – like herself – received DONI’s

automated calls. Dkt. No. 1 at 27. Showing that these calls were made is not only necessary to



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prove Plaintiff’s prima facie case; it is needed to establish the ascertainability, numerosity,

commonality, and other requirements for class certification under Fed. R. Civ. P. 23, and even

the ultimate relief to which Plaintiff and the class can be afforded, given that the TCPA provides

for damages on a per-violation (i.e., per-call) basis, 47 U.S.C. § 227(b)(3). Plaintiff, therefore,

issued discovery seeking to identify the VoApps calls DONI made to herself and the class:

       Interrogatory No. 13. Detail each call you had VoApps make using its
       DirectDROP Voicemail service, including all available call detail information
       (e.g., date/time, phone number called, disposition, etc.), the message played, and
       the associated account and person targeted. For example but without limitation,
       the type of information produced as VoApps0000225-288 in relation to Plaintiff
       Saunders would be responsive.
       Production Request No. 18. All data and documents relating to any call you had
       VoApps make using its DirectDROP Voicemail service, including but not limited
       to call detail information (e.g., date/time, phone number called, disposition, etc.),
       the message played, and the associated account and person targeted.
       Admission Request No. 1. Admit that the calls you had VoApps make used a
       prerecorded voice.
       Admission Request No. 2. Admit that all the calls VoApps made for you were
       made to numbers assigned to a cellular telephone service.
       Admission Request No. 8. Admit that you had VoApps make calls to more than
       1,000 cell phone numbers.
       Admission Request No. 9. Admit that you had VoApps make calls to more than
       10,000 cell phone numbers.
       Admission Request No. 10. Admit that you had VoApps make calls to more than
       100,000 cell phone numbers.
       Admission Request No. 14. Admit that you knew VoApps would play
       prerecorded messages on the voicemails of the phone numbers you provided it to
       call.

       These requests are narrowly limited in scope to the VoApps prerecorded voicemail calls

DONI made to Plaintiff and other class members, and encompass the basic call detail

information and other data that Defendant and its vendor VoApps are known to have, as

evidenced by the fact that they have already produced such materials as to Plaintiff Saunders to

the exclusion of other class members. Not only are these requests directly probative of the calls

Plaintiff sued about, but given their applicability to establishing ascertainability, numerosity,



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 predominance, and other Rule 23 class certification requirements and the ultimate relief Plaintiff

 and the class can be afforded based on the TCPA’s per-call statutory damages under 47 U.S.C. §

 227(b)(3)—and the fact that DONI promised to produce responsive class data, Exhibit C—there

 is no justification for DONI’s continued failure to furnish this relevant discovery.

        Even if DONI hadn’t already committed to produce this discovery, given call data’s

 inherent relevance to a case like this one—which is literally about such calls—courts routinely

 order production of class call data in TCPA cases. See Meredith v. United Collection Bureau,

 Inc., 319 F.R.D. 240, 243 (N.D. Ohio 2017) (ordering production of class call and consent-

 related data, finding it “relevant to establishing the size and nature of the class” and “to the relief

 available under the TCPA because the statute provides for damages on a per-violation basis”);

 Michel v. WM Healthcare Sols., Inc., No. 10-638, 2011 WL 6056728, at *4 (S.D. Ohio Sept. 8,

 2011) (rejecting privacy objections as to production of a class list after weighing burden against

 benefit); Kane v. Nat’l Action Fin. Servs., Inc., No. 11-11505, 2012 WL 1658643, at *7 (E.D.

 Mich. May 11, 2012) (similar); City Select Auto Sales Inc. v. BMW Bank of N. Am. Inc., 867 F.3d

 434, 442 (3d Cir. 2017) (holding district court abused discretion by denying certification in

 TCPA case since it denied plaintiff class data, and remanding “so that the … database can be

 produced); Sandusky Wellness Ctr., LLC v. Medtox Sci., Inc., 821 F.3d 992, 997 (8th Cir. 2016)

 (reversing class certification denial in TCPA fax case because “logs showing the numbers that

 received each fax are objective criteria that make the recipient clearly ascertainable”).

        It is axiomatic that, in a case about the phone calls DONI made to Plaintiff and other

 consumers, the calls themselves are inherently relevant. DONI has already committed to

 producing the call data responsive to these requests, and given its failure to do so, the Court

 should compel such production.



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        C.      DONI should produce discovery regarding any purported “prior express
                consent” for the calls at issue.

        “Prior express consent” is the primary defense that TCPA defendants like DONI raise

 both on the merits and against class certification. See 47 U.S.C. § 227(b)(1)(A) (prohibiting

 automated calls to cell phones, unless if made with the “prior express consent” of the called

 party); Dkt. 6, Answer at 12 (alleging “Plaintiff’s claims may be barred … by consent”).1 As

 such, Plaintiff issued several discovery requests to investigate the basis of any purported

 “consent” DONI claims to have for the calls at issue, as well as for proof that DONI lacked

 consent—whether because the consumer told DONI to stop, the phone numbers called had been

 obtained from some source other than the called party directly (like skip-tracing), or otherwise:

        Interrogatory No. 14. If you contend that you had prior express consent to call
        any of the phone numbers you had VoApps call using its DirectDROP Voicemail
        service, explain the scope of that consent and how you obtained it, including
        whether the consumer provided you with his or her phone number directly and, if
        not, from whom you acquired it.
        Production Request No. 19. All data and documents relating to how you
        obtained or identified the phone numbers you had VoApps call using its
        DirectDROP Voicemail service.
        Production Request No. 20. All data and documents relating to your acquisition
        of any phone number using skip-tracing or some method other than from the
        consumer directly. To the extent you are able, you may limit your response to this
        request to only those phone numbers DONI had VoApps call using its
        DirectDROP Voicemail service.
        Production Request No. 21. All data and documents relating to whether or not
        you had consent or permission to call the phone numbers you had VoApps call
        using its DirectDROP Voicemail service.
        Admission Request No. 3. Admit that you did not obtain [Plaintiff’s cell phone
        number] from Plaintiff directly.
        Admission Request No. 4. Admit that Plaintiff did not provide you with
        permission or consent to call [Plaintiff’s cell phone number].
        Admission Request No. 5. Admit that Plaintiff asked you to stop calling
        [Plaintiff’s cell phone number].
        Admission Request No. 6. Admit that you obtained [Plaintiff’s cell phone
        number] through skip-tracing.

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        See Harris v. World Fin. Network Nat. Bank, 867 F. Supp. 2d 888, 898 (E.D. Mich. 2012)
 (“The burden of establishing prior consent is on the defendant.”).
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        Admission Request No. 7. Admit that you used skip-tracing to identify some
        phone numbers that you had VoApps call.
        Admission Request No. 11. Admit that more than 1,000 cell phone numbers you
        had VoApps call had been obtained through skip-tracing.
        Admission Request No. 12. Admit that more than 10,000 cell phone numbers
        you had VoApps call had been obtained through skip-tracing.
        Admission Request No. 13. Admit that more than 100,000 cell phone numbers
        you had VoApps call had been obtained through skip-tracing.

        Because Plaintiff’s above discovery requests directly related to DONI’s consent defense,

 they fall squarely within the permissible scope of discovery. Fed. R. Civ. P. 26(b)(1). And as

 with its call data, DONI has already committed to producing its consent-related data, Exhibit C.

 Therefore, there is no valid basis for its continued failure to produce such relevant discovery.

        Courts in TCPA cases frequently require defendants to produce consent data, particularly

 where, as in this case, the defendant is expected to argue that purported “individualized issues”

 of consent preclude class certification. E.g., Cordoba v. DirecTV, LLC, 320 F.R.D. 582, 593

 (N.D. Ga. 2017) (ruling on class certification in TCPA case that “Plaintiff would face substantial

 prejudice if he was forced to respond to DIRECTV’s proposed [consent] defense without access

 to the data on which this defense appears to rest”); Donnelly v. NCO Fin. Sys, Inc., 263 F.R.D.

 500 (N.D. Ill. 2009), defendant’s Fed. R. Civ. P. 72 objections overruled by Donnelly v. NCO

 Fin. Sys. Inc., 09-2264, 2010 U.S. Dist. LEXIS 9866 (N.D. Ill. Jan. 13, 2010) (“For the reasons

 set forth in this order, the Court overrules NCO’s objections to Magistrate Judge Nolan’s

 December 16, 2008 Order and directs NCO to comply fully with it or face sanctions that may

 include striking its defenses.”); Balbarin v. North Star Capital Acquisition, LLC, No. 10-1846,

 2010 U.S. Dist. LEXIS 118992, at *3 (N.D. Ill. Nov. 9, 2010).

        Because Plaintiff needs DONI’s consent-related data and discovery to not only rebut its

 defense on the merits, but to address DONI’s predominance arguments at class certification, the

 Court should compel such inherently relevant discovery. DONI committed to producing these

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 materials in exchange for yet another extension, and it cannot now fairly withhold them.

        D.      DONI should produce documents reflecting its relevant call, consent, and
                TCPA-related policies, practices, and procedures.

        Policy, practice, and procedure documents – including reflective communications –

 relating to DONI’s call, consent, and TCPA-related practices are inherently relevant to this case

 based on the automated calls DONI made to Plaintiff and others in violation of the TCPA, and

 they will further enable Plaintiff to establish why this Court should grant enhanced damages

 based on DONI’s willful violation of the statute. To this end, Plaintiff propounded several

 discovery requests relating to DONI’s applicable policies, practices, and procedures:

        Interrogatory No. 15. Explain DONI’s policies, practices, and procedures
        relating to calls made using VoApps’ DirectDROP Voicemail service.
        Interrogatory No. 16. Explain DONI’s policies, practices, and procedures
        relating to obtaining phone numbers to call.
        Interrogatory No. 17. Explain DONI’s policies, practices, and procedures
        relating to consent or lack of consent to call telephone numbers.
        Production Request No. 22. All documents relating to policies, practices, and
        procedures for outbound calling.
        Production Request No. 23. All manuals and policy, practice, and procedure
        documents relating to VoApps’ DirectDROP Voicemail service.
        Production Request No. 24. All documents relating to policies, practices, and
        procedures for obtaining phone numbers to call.
        Production Request No. 25. All documents relating to policies, practices, and
        procedures as to obtaining and tracking consent to call telephone numbers.
        Production Request No. 26. All documents relating to policies, practices, and
        procedures relating to the TCPA.

        Policy, practice, and procedure documents relating to DONI’s outbound calls, use of

 VoApps’ DirectDROP service, consent, and the TCPA will contain pertinent information about

 how the calls at issue were made, and the use and capacity of the system used (itself relevant to

 establishing DONI’s use of an autodialer), and DONI’s consent defense (including by showing

 that how DONI obtains the phone numbers it calls fails to satisfy the TCPA). Moreover, the

 TCPA provides for enhanced damages for willful or knowing violations under 47 U.S.C. §



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 227(b)(3), see Krakauer v. Dish Network LLC, No. 14-333, 2017 WL 2242952, at *9 (M.D.N.C.

 May 22, 2017), and these materials are thus also relevant to rebutting DONI’s Fifth Affirmative

 Defense, which claims that any violations were not willful or knowing. Dkt. No. 6, Answer at 12.

        Courts overseeing TCPA cases routinely order defendants to produce comparable

 documents relating to the defendant’s call, consent, and TCPA practices. See O’Shea v. Am.

 Solar Sol., Inc., No. 14-894, 2016 WL 701215, at *5 (S.D. Cal. Feb. 18, 2016) (compelling

 production of TCPA compliance documents and communications, finding them “directly related

 to [plaintiff’s] TCPA claim, and … therefore discoverable”); Lowe v. CVS Pharmacy, Inc., No.

 14-3687, 2015 WL 13427768, at *5 (N.D. Ill. Feb. 6, 2015) (compelling “[a]ll communications,

 policies, training materials, memoranda, and other documents relating to the TCPA … or any

 other telemarketing laws”); Edeh v. Midland Credit Mgmt., Inc., 748 F. Supp. 2d 1030, 1045 (D.

 Minn. 2010) (compelling policy manuals, procedure manuals, or other documents distributed to

 employees, lawsuits filed, and court judgments and sanctions issued against defendant as to

 TCPA, and other documents as to compliance with the TCPA or invasions of consumer privacy).

        Documents reflecting DONI’s policies, practices, and procedures—including

 communications and similar materials showing the extent to which such policies were actually

 followed—are inherently relevant to this case, are subject to DONI’s own promise to provide

 substantive responses in exchange for an extension, and should be produced.

 IV.    CONCLUSION

        Plaintiff respectfully requests that the Court enter an order: (1) compelling DONI to

 produce full and complete responses to Plaintiff’s Second Set of Discovery Requests to

 Defendant; (2) deeming DONI to have waived objections; (3) deeming Plaintiff’s requests for

 admission admitted; and (4) granting such other and further relief deemed reasonable and just.



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 Dated: October 30, 2018                              Respectfully submitted,

                                                      KAREN SAUNDERS

                                                      By: s/ Alexander H. Burke




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 Counsel for Plaintiff


                            FED. R. CIV. P. 37(A)(1) STATEMENT

        The undersigned certifies that Plaintiff, through counsel, has in good faith conferred with

 Defendant in an effort to obtain the discovery requested herein without court action, but that such

 attempts were unsuccessful, including through meet-and-confer calls between myself and

 defense counsel Charity Olson on October 16, 2018 and October 22, 2018, and through

 numerous e-mails. See, e.g., Exhibit B, Exhibit C.

                                                               s/ Alexander H. Burke

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                                      PROOF OF SERVICE

        I hereby certify that, on October 30, 2018, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

 counsel of record.

                                                               s/ Alexander H. Burke




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